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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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WAYNE BALIGA,

                                            Plaintiff,                   18-CV-11642 (VM) (VF)

                          -against-                                            ORDER

LINK MOTION INC., et al.

                                            Defendants.

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VALERIE FIGUEREDO, United States Magistrate Judge:

        In the August 2023 Report and Recommendation, the undersigned directed the parties “to

provide supplemental briefing on the issue of whether the Court’s equitable powers and inherent

authority allow it to pierce the corporate veil to hold Shi personally liable for the unfunded

liabilities of the Receivership.” ECF No. 466 at 27. On this issue, the Receiver is directed to file

its brief on or before June 20, 2024. Any response to the Receiver’s briefing shall be filed on or

before July 5, 2024, and any reply by the Receiver shall be filed on or before July 12, 2024.

        SO ORDERED.

DATED:           New York, New York
                 June 6, 2024




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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge
